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                   Attachment A
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                                                                             Non‐final data

Week                                             MEXIC                                           GUATE                                       CUBA
                             T8            T42             Total             T8            T42             Total         T8            T42           Total
11/5/2021 ‐ 11/11/2021             1,365          12,188            13,553         1,526           3,194         4,720         1,526             4            1,530
11/12/2021 ‐ 11/18/2021            1,794          13,964            15,758         1,600           3,204         4,804         1,648             4            1,652
11/19/2021 ‐ 11/25/2021            1,614          14,048            15,662         1,782           3,052         4,834         1,492             6            1,498
11/26/2021 ‐ 12/2/2021             1,574          13,448            15,022         2,083           3,147         5,230         1,652             4            1,656
12/3/2021 ‐ 12/9/2021              1,591          11,737            13,328         1,885           3,835         5,720         2,228            15            2,243
12/10/2021 ‐ 12/16/2021            1,451          11,457            12,908         1,842           3,666         5,508         1,548             8            1,556
12/17/2021 ‐ 12/23/2021            1,459          10,215            11,674         1,765           3,248         5,013         1,536             4            1,540
12/24/2021 ‐ 12/30/2021            1,010           6,587             7,597           605           1,989         2,594         1,718             2            1,720
12/31/2021 ‐ 1/6/2022              1,135           7,194             8,329           300           1,872         2,172         1,587             3            1,590
1/7/2022 ‐ 1/13/2022               1,557          11,239            12,796           444           1,945         2,389         1,903             2            1,905
1/14/2022 ‐ 1/20/2022              1,572          13,778            15,350         1,370           2,393         3,763         1,996             1            1,997
1/21/2022 ‐ 1/27/2022              1,584          14,059            15,643         1,101           2,660         3,761         2,665             6            2,671
1/28/2022 ‐ 2/3/2022               1,799          15,299            17,098         1,081           2,930         4,011         3,309            25            3,334
2/4/2022 ‐ 2/10/2022               1,728          14,603            16,331         1,470           3,268         4,738         3,559            10            3,569
2/11/2022 ‐ 2/17/2022              2,039          16,252            18,291         1,544           3,189         4,733         4,336            11            4,347
2/18/2022 ‐ 2/24/2022              2,071          16,928            18,999         1,276           3,026         4,302         4,561            16            4,577
2/25/2022 ‐ 3/3/2022               1,963          17,337            19,300         1,471           3,329         4,800         4,472           297            4,769
3/4/2022 ‐ 3/10/2022               2,192          17,933            20,125         1,406           3,177         4,583         6,508           200            6,708
3/11/2022 ‐ 3/17/2022              2,258          17,037            19,295         1,378           3,383         4,761         7,334            37            7,371
3/18/2022 ‐ 3/24/2022              2,463          16,296            18,759         1,423           3,176         4,599         8,565            14            8,579
3/25/2022 ‐ 3/31/2022              2,764          17,661            20,425         1,493           3,601         5,094         7,255            29            7,284
4/1/2022 ‐ 4/7/2022                2,912          17,805            20,717         1,390           3,912         5,302         7,737            37            7,774
4/8/2022 ‐ 4/14/2022               2,905          17,352            20,257         1,451           3,565         5,016         9,645            42            9,687
4/15/2022 ‐ 4/21/2022              2,696          13,889            16,585         2,696           1,594         4,290         7,652            71            7,723
Nov 5 ‐ April 22 Total            45,496         338,306           383,802        34,382          72,355       106,737        96,432           848           97,280




                                  Source: DHS Office of Immigration Statistics analysis of CBP Unified Immigration Portal Data
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                                                                        Non‐final data

Week                                          HONDU                                       NICAR                                     VENEZ
                             T8            T42         Total        T8                 T42         Total       T8                T42         Total
11/5/2021 ‐ 11/11/2021             1,807         2,810        4,617            3,091           148       3,239          5,091           23        5,114
11/12/2021 ‐ 11/18/2021            1,787         3,029        4,816            3,038           320       3,358          5,327           22        5,349
11/19/2021 ‐ 11/25/2021            1,648         3,102        4,750            3,174           206       3,380          3,767           26        3,793
11/26/2021 ‐ 12/2/2021             1,615         2,896        4,511            2,617           292       2,909          5,631           22        5,653
12/3/2021 ‐ 12/9/2021              1,810         3,266        5,076            3,705           167       3,872          5,999           15        6,014
12/10/2021 ‐ 12/16/2021            1,125         2,804        3,929            3,813            99       3,912          5,097            8        5,105
12/17/2021 ‐ 12/23/2021            1,540         2,596        4,136            3,448           117       3,565          5,542           13        5,555
12/24/2021 ‐ 12/30/2021              836         2,180        3,016            2,622            64       2,686          5,665            7        5,672
12/31/2021 ‐ 1/6/2022                337         1,998        2,335            1,675            49       1,724          3,373           15        3,388
1/7/2022 ‐ 1/13/2022                 429         1,761        2,190            1,961            47       2,008          3,637            6        3,643
1/14/2022 ‐ 1/20/2022                941         1,846        2,787            2,981            41       3,022          8,394           12        8,406
1/21/2022 ‐ 1/27/2022                971         2,371        3,342            3,000            41       3,041          6,859           15        6,874
1/28/2022 ‐ 2/3/2022               1,082         2,336        3,418            3,606            29       3,635          1,730           16        1,746
2/4/2022 ‐ 2/10/2022                 973         2,374        3,347            3,096            23       3,119            648           10          658
2/11/2022 ‐ 2/17/2022              1,152         2,597        3,749            3,400            13       3,413            635            5          640
2/18/2022 ‐ 2/24/2022              1,045         2,484        3,529            3,449            10       3,459            810           11          821
2/25/2022 ‐ 3/3/2022               1,127         2,568        3,695            3,232           189       3,421            710            3          713
3/4/2022 ‐ 3/10/2022               1,200         2,481        3,681            3,224            85       3,309            771            1          772
3/11/2022 ‐ 3/17/2022              1,160         2,297        3,457            3,859            18       3,877            903            2          905
3/18/2022 ‐ 3/24/2022              1,076         2,235        3,311            3,845            15       3,860          1,362            3        1,365
3/25/2022 ‐ 3/31/2022              1,292         2,537        3,829            3,305            12       3,317            684           12          696
4/1/2022 ‐ 4/7/2022                1,112         2,678        3,790            3,022            24       3,046            964            1          965
4/8/2022 ‐ 4/14/2022               1,481         2,616        4,097            3,036            11       3,047          1,041           10        1,051
4/15/2022 ‐ 4/21/2022              2,417         1,108        3,525            2,484             3       2,487            668          ‐            668
Nov 5 ‐ April 22 Total            29,963        58,970       88,933           74,683         2,023      76,706         75,308          258       75,566




                                  Source: DHS Office of Immigration Statistics analysis of CBP Unified Immigration Portal Data
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                                                                          Non‐final data

Week                                         COLOM                                      ELSAL                                        UKRAI
                             T8            T42     Total        T8                T42             Total            T8             T42             Total
11/5/2021 ‐ 11/11/2021               669         5          674             974           1,147            2,121             43               0                43
11/12/2021 ‐ 11/18/2021              853        10          863           1,080           1,262            2,342             58               1                59
11/19/2021 ‐ 11/25/2021              863         5          868           1,229           1,093            2,322             63               0                63
11/26/2021 ‐ 12/2/2021               903         8          911           1,018           1,206            2,224             43               0                43
12/3/2021 ‐ 12/9/2021                937        10          947           1,086           1,348            2,434             68               0                68
12/10/2021 ‐ 12/16/2021              885         7          892             902           1,350            2,252             77               0                77
12/17/2021 ‐ 12/23/2021              941         7          948             739           1,257            1,996             86               0                86
12/24/2021 ‐ 12/30/2021              902         5          907             372             895            1,267             93               0                93
12/31/2021 ‐ 1/6/2022                427         3          430             159             697              856             98               0                98
1/7/2022 ‐ 1/13/2022                 489         4          493             270             824            1,094             31               0                31
1/14/2022 ‐ 1/20/2022                694         3          697             680             842            1,522             50               2                52
1/21/2022 ‐ 1/27/2022              1,201         1        1,202             685           1,011            1,696             56               0                56
1/28/2022 ‐ 2/3/2022               2,124         3        2,127             619           1,065            1,684            46           ‐                    46
2/4/2022 ‐ 2/10/2022               1,732         6        1,738             611           1,087            1,698           102           ‐                   102
2/11/2022 ‐ 2/17/2022              2,368         6        2,374             619           1,285            1,904            54           ‐                    54
2/18/2022 ‐ 2/24/2022              2,537         7        2,544             602           1,217            1,819            44           ‐                    44
2/25/2022 ‐ 3/3/2022               3,277       101        3,378             594             994            1,588            90                1               91
3/4/2022 ‐ 3/10/2022               3,115       301        3,416             640           1,152            1,792           191                4              195
3/11/2022 ‐ 3/17/2022              3,549       175        3,724             726           1,026            1,752           434           ‐                   434
3/18/2022 ‐ 3/24/2022              3,042        40        3,082             707           1,290            1,997           699           ‐                   699
3/25/2022 ‐ 3/31/2022              3,644        42        3,686             752           1,360            2,112         1,915           ‐                 1,915
4/1/2022 ‐ 4/7/2022                4,685        60        4,745             703           1,353            2,056         4,368           ‐                 4,368
4/8/2022 ‐ 4/14/2022               2,850        41        2,891             682           1,368            2,050         7,269           ‐                 7,269
4/15/2022 ‐ 4/21/2022              1,736         5        1,741             936             930            1,866         5,783                4            5,787
Nov 5 ‐ April 22 Total            44,423       855       45,278          17,385          27,059           44,444        21,761               12           21,773




                                    Source: DHS Office of Immigration Statistics analysis of CBP Unified Immigration Portal Data
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                                                                          Non‐final data

Week                                         BRAZI                         Other                          Total
                             T8            T42       Total     T8        T42       Total     T8        T42      Total
11/5/2021 ‐ 11/11/2021             1,535          60     1,595     1,663        76     1,739    19,290   19,655    38,945
11/12/2021 ‐ 11/18/2021            1,362          78     1,440     2,072       139     2,211    20,619   22,033    42,652
11/19/2021 ‐ 11/25/2021            1,691          52     1,743     2,392       160     2,552    19,715   21,750    41,465
11/26/2021 ‐ 12/2/2021             1,861          31     1,892     2,599       364     2,963    21,596   21,418    43,014
12/3/2021 ‐ 12/9/2021              2,033          27     2,060     3,262       707     3,969    24,604   21,127    45,731
12/10/2021 ‐ 12/16/2021            2,115          46     2,161     3,200       888     4,088    22,055   20,333    42,388
12/17/2021 ‐ 12/23/2021            1,630          63     1,693     3,234       882     4,116    21,920   18,402    40,322
12/24/2021 ‐ 12/30/2021            1,104         196     1,300     4,030     1,149     5,179    18,957   13,074    32,031
12/31/2021 ‐ 1/6/2022                599          90       689     2,897     1,182     4,079    12,587   13,103    25,690
1/7/2022 ‐ 1/13/2022                 272         110       382     1,944       444     2,388    12,937   16,382    29,319
1/14/2022 ‐ 1/20/2022                464         245       709     2,030       440     2,470    21,172   19,603    40,775
1/21/2022 ‐ 1/27/2022                434         315       749     2,288       245     2,533    20,844   20,724    41,568
1/28/2022 ‐ 2/3/2022                 351         299       650     2,363       194     2,557    18,110   22,196    40,306
2/4/2022 ‐ 2/10/2022                 185         185       370     2,258       340     2,598    16,362   21,906    38,268
2/11/2022 ‐ 2/17/2022                229         213       442     2,392       331     2,723    18,768   23,902    42,670
2/18/2022 ‐ 2/24/2022                154          94       248     2,306       159     2,465    18,855   23,952    42,807
2/25/2022 ‐ 3/3/2022                 139          81       220     2,822       219     3,041    19,897   25,119    45,016
3/4/2022 ‐ 3/10/2022                 194          77       271     3,136       195     3,331    22,577   25,606    48,183
3/11/2022 ‐ 3/17/2022                228          34       262     3,385        98     3,483    25,214   24,107    49,321
3/18/2022 ‐ 3/24/2022                276           8       284     4,016        81     4,097    27,474   23,158    50,632
3/25/2022 ‐ 3/31/2022                405          11       416     3,681       174     3,855    27,190   25,439    52,629
4/1/2022 ‐ 4/7/2022                  481          18       499     3,888       220     4,108    31,262   26,108    57,370
4/8/2022 ‐ 4/14/2022                 836          33       869     4,466       260     4,726    35,662   25,298    60,960
4/15/2022 ‐ 4/21/2022                570          17       587     4,538        99     4,637    32,176   17,720    49,896
Nov 5 ‐ April 22 Total            19,148       2,383    21,531    70,862     9,046    79,908 529,843 512,115 1,041,958




                                    Source: DHS Office of Immigration Statistics analysis of CBP Unified Immigration Portal Data
